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                         UNITED STATES BANKRUPTCY COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
                                  (PHILADELPHIA)

 In re:                                                  Chapter 13

 Thomas C. Baker                                         Case No.: 23-10766-pmm

           Debtor




                                   CERTIFICATION OF DEFAULT

          NOW COMES the Movant, NewRez LLC d/b/a Shellpoint Mortgage Servicing (“Movant”),

by and through its attorneys, Hill Wallack LLP, who file this Certification of Default upon the

following:

   1. A Motion for Relief from Stay was filed by Movant on July 5, 2023 at Document No. 24.

   2. Debtor thereafter filed an objection to the Motion for Relief from Stay on July 17, 2023 at

          Document No. 26.

   3. On or about August 16, 2023, the Debtor and Movant entered into a certain Stipulation in

          Settlement of the Motion for Relief from Stay wherein the Debtor agreed to remain current

          on all regular post-petition monthly mortgage payments commencing September 1, 2023. A

          true and correct copy of the Stipulation is attached hereto and made a part hereof as Exhibit

          “A.”

   4. On or about August 18, 2023, the Court entered an Order approving the Stipulation at

          Document No. 30.

   5. The Stipulation provided that should the monthly payments not be remitted on the date due,

          Movant shall send Debtor and Debtor’s counsel a written Notice of Default of the

          Stipulation. If the default is not cured within fifteen (15) days of the date of the Notice,

          counsel shall file a Certification of Default with the Court and the Court shall enter an Order
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      granting relief from the Automatic Stay, waiving FED. R. Bankr. P. 3002.1 and waiving Rule

      4001 (a)(3) so that the Relief Order is immediately effective and enforceable. See Stipulation

      at ¶ 6.

   6. The Debtor failed to make the payments required under the Stipulation beginning with the

      payment due on September 1, 2023.

   7. A Notice of Default was sent to Debtor and his counsel on November 6, 2023. A true and

      correct copy of letter dated November 6, 2023 is attached hereto as Exhibit “B.”

   8. As of January 2, 2024, the Debtor has failed to bring said post-petition arrears current such

      that the Debtor remains in default under the Stipulation. More specifically, Debtor’s account

      is past due for the payments due from September 1, 2023 through January 1, 2024 in the

      amount of $3,307.70, less suspense in the amount of $0.00, for a total of $3,307.70.

   9. As such, Movant respectfully requests that the attached Order in connection with the

      Motion for Relief from Stay be entered.

                                                      Hill Wallack LLP

                                                      By: /s/ Angela C. Pattison
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